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 1 BRAD D. KRASNOFF (State Bar No. 125065)
   bkrasnoff@DanningGill.com
 2 ERIC P. ISRAEL (State Bar No. 132426)
   eisrael@DanningGill.com
 3 MICHAEL G. D’ALBA (State Bar No. 264403)
   mdalba@DanningGill.com
 4 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 5 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 6 Facsimile: (310) 277-5735

 7 Attorneys for Plaintiff Jerry Namba,
   Chapter 7 Trustee
 8

 9                                  UNITED STATES BANKRUPTCY COURT

10                                   CENTRAL DISTRICT OF CALIFORNIA

11                                          NORTHERN DIVISION

12 In re                                                   Case No. 9:23-bk-10601-RC

13 AMPERSAND PUBLISHING, LLC dba                           Chapter 7
   SANTA BARBARA NEWS-PRESS,
14                                                         Adv. No.
             Debtor.
15

16 JERRY NAMBA, Chapter 7 Trustee,                         TRUSTEE’S COMPLAINT TO AVOID
                                                           AND RECOVER VOIDABLE
17                     Plaintiff,                          TRANSFERS; FOR DECLARATORY
                                                           RELIEF; FOR TURNOVER; FOR
18            vs.                                          RESULTING TRUST; FOR INJUNCTIVE
                                                           RELIEF; FOR CONSTRUCTIVE TRUST
19 715 ANACAPA, LLC, a California limited
   liability company; and 725 KELLOGG, LLC,                Date:      See Summons
20 a California limited liability company,                 Time:      See Summons
                                                           Place:     See Summons
21                     Defendants.
22

23            Plaintiff Jerry Namba, solely in his capacity as the Chapter 7 trustee (the “Trustee” or the
24 “Plaintiff”) of the bankruptcy estate of Ampersand Publishing, LLC dba Santa Barbara News-Press

25 (the “Debtor”), alleges as follows:

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 1                               JURISDICTION AND CASE BACKGROUND

 2            1.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§

 3 157 and 1334. This action is commenced pursuant to 11 U.S.C. §§ 542, 544, 28 U.S.C. § 2201(a),

 4 and other applicable law. This action is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (E), (H)

 5 and (O). This action arises in a case under Chapter 7 of title 11 of the United States Code (the

 6 “Bankruptcy Code”) entitled In re Ampersand Publishing, LLC dba Santa Barbara News-Press,

 7 which has been assigned bankruptcy case number 9:23-bk-10601-RC and is pending in the United

 8 States Bankruptcy Court, Central District of California, Northern Division (the “Bankruptcy

 9 Case”). Plaintiff consents to the entry in this action of final orders and judgments by the

10 Bankruptcy Court.

11            2.       On or about July 21, 2023 (the “Petition Date”), the Debtor commenced this case by

12 filing a voluntary petition for relief under Chapter 7 of the Bankruptcy Code.

13            3.       On or about the Petition Date, the Trustee accepted appointment as the Chapter 7

14 trustee for the Debtor’s bankruptcy estate and continues to serve in that capacity for the benefit of

15 creditors.

16

17                                                 THE PARTIES

18            4.       Plaintiff brings this action solely in his capacity as the Chapter 7 trustee for the

19 Debtor’s bankruptcy estate.

20            5.       Defendant 715 Anacapa, LLC (“Anacapa LLC”), is a limited liability company

21 organized under the laws of the State of California.

22            6.       Defendant 725 Kellogg, LLC (“Kellogg LLC”), is a limited liability company

23 organized under the laws of the State of California.

24

25                                         GENERAL ALLEGATIONS

26            7.       Wendy McCaw (“McCaw”) is an individual who resides in the County of Santa
27 Barbara, State of California.

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 1            8.       Plaintiff is informed and believes, and based thereon alleges, that McCaw is the sole

 2 owner of Anacapa LLC.

 3            9.       Plaintiff is informed and believes, and based thereon alleges, that McCaw is the sole

 4 owner of Kellogg LLC.

 5            10.      The Debtor is organized as a limited liability company under the laws of the State of

 6 Delaware.

 7            11.      McCaw is and at all times relevant to this Complaint was the Managing Member of

 8 the Debtor and the sole owner of the Debtor.

 9

10 The Debtor’s Purchase of 715 Anacapa Street and 725 South Kellogg Avenue

11            12.      On or about July 7, 2000, the Debtor entered into an Asset Purchase Agreement (the

12 “Purchase Agreement”) with NYT Santa Barbara News-Press, Inc. (“NYT”).

13            13.      The Purchase Agreement states that the total amount paid for the assets that were the

14 subject of the Purchase Agreement was $120,000,000.00.

15            14.      The Debtor used the assets that it purchased under the Purchase Agreement to run a

16 daily newspaper in the city of Santa Barbara, California.

17            15.      Pursuant to the Purchase Agreement, among other things, the Debtor purchased

18 from NYT the real property commonly known as 715 Anacapa Street and/or 718 Anacapa Street,

19 Santa Barbara, California (the “Office Building”), and 725 Kellogg Avenue or 725 South Kellogg

20 Avenue, Goleta, California (the “Plant”).

21            16.      By a grant deed recorded in Santa Barbara County on or about October 19, 2000, as

22 instrument no. 2000-0064136, NYT transferred title to the Office Building to the Debtor.

23            17.      Plaintiff is informed and believes, and based thereon alleges, that by a grant deed

24 recorded in Santa Barbara County on or about October 19, 2000, NYT transferred title to the Plant

25 to the Debtor.

26            18.      After the Purchase Agreement, the Debtor operated from the Office Building and
27 the Plant.

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 1 The Debtor’s Dispute with the Managing Editor Leads to a Levy on the Office Building

 2            19.      Starting in or about July 2006, an employment dispute arose between the Debtor

 3 and Jerry Roberts (“Roberts”), who was the managing editor of the Debtor’s newspaper (the

 4 “Roberts Dispute”).

 5            20.      The Roberts Dispute was the subject of arbitration, a Santa Barbara Superior Court

 6 case (no. 1304805), and a Court of Appeal case (Second Appellate District case no. B223467).

 7            21.      On or about February 22, 2012, the Court of Appeal affirmed a determination that

 8 Roberts had been the prevailing party in arbitration as well as the award to Roberts of $629,643.63

 9 in attorney’s fees and $93,320 in costs.

10            22.      Roberts was required to use enforcement procedures to collect the amounts owed to

11 him by the Debtor, and such efforts were commenced during the summer of 2012.

12            23.       During the summer of 2012, Roberts obtained a writ of execution as to the Debtor

13 and levied against the Office Building to attempt to collect the amounts that the Debtor owed him.

14            24.      In or about October of 2012, Roberts was paid approximately $1,000,000,

15 representing the full amount he was owed by the Debtor.

16            25.      Plaintiff is informed and believes, and based thereon alleges, that the existence of

17 the Office Building as an asset of the Debtor on which Roberts could levy and the risk that the

18 Office Building could be lost to collection procedures is what caused the payment to Roberts of the

19 amounts that the Debtor owed to Roberts in the Roberts Dispute.

20

21 The Debtor’s Disputes with the National Labor Relations Board

22            26.      On or about August 16, 2007, the National Labor Relations Board (the “NLRB”)

23 certified a labor union to represent employees in the Debtor’s newsroom (the “Union”).

24            27.      On or about November 27, 2007, the Union filed with the NLRB an initial charge

25 against the Debtor in which the Union alleged, among other things, that the Debtor had failed and

26 refused to bargain in good faith. The charge was designated Case 31-CA-028589 and was
27 consolidated with other cases filed against the Debtor (the “NLRB Proceeding”).

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 1            28.      From about May 2009 through about August 2009, a 21-day trial in the NLRB

 2 Proceeding was conducted before Administrative Law Judge Clifford H. Anderson.

 3            29.      On or about May 28, 2010, Judge Anderson issued a decision in which he found,

 4 among other things, that the Debtor had engaged in unfair labor practices by, among other acts

 5 and/or omissions, bargaining in bad faith with the Union (the “Anderson Decision”).

 6            30.      The Anderson Decision required the Debtor, among other things, to cease and desist

 7 from violating labor law, pay make whole damages, and bargain with the Union in good faith. At

 8 least 40 individuals who belonged to the bargaining unit, and possibly more, were entitled to make

 9 whole damages. Without naming each such individual, they include by way of example Thomas

10 DeWalt, Victoria Harvey, Steve Tonneson, Angel Pacheco, James Cheng, Marilyn McMahon, and

11 Kathy Schultz.

12            31.      “Exceptions” and “Cross-Exceptions” to the Anderson Decision were filed by the

13 Debtor, the Union, and the NLRB’s General Counsel (the “Anderson Appeal”).

14            32.      The Anderson Appeal was delegated to a three-member panel of the NLRB that

15 was comprised of the NLRB’s Chairman and two members.

16            33.      On or about September 27, 2012, the three-member panel issued a Decision and

17 Order in the Anderson Appeal (the “Panel Decision”). The Panel Decision agreed with Judge

18 Anderson’s determinations that the Debtor had violated labor law, that a broad cease and desist

19 order was warranted, and that the Union was entitled to reimbursement of bargaining expenses

20 from the Debtor. The Panel Decision also extended the certification period of the Union by 12

21 months.

22            34.      The Debtor filed a motion for reconsideration of the Panel Decision. On or about

23 May 31, 2013, the NLRB issued an order denying the Debtor’s motion for reconsideration (the

24 “Reconsideration Denial”).

25            35.      On or about November 14, 2012, the Debtor filed a petition with the United States

26 Court of Appeals for the District of Columbia Circuit (the “DC Circuit”) by which it sought review
27 of the Panel Decision (the “First Appeal”).

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 1            36.      At the time the NLRB issued the Panel Decision and the Reconsideration Denial, the

 2 appointment of two of the members of the NLRB had been challenged on constitutional grounds.

 3            37.      On or about June 26, 2014, the United States Supreme Court in NLRB v. Canning,

 4 134 S.Ct. 2550 (2014), held that the appointment of two members to NLRB had been invalid for

 5 constitutional reasons.

 6            38.      On or about June 26, 2014, the NLRB’s Office of Public Affairs issued a news

 7 release stating that the NLRB was “analyzing the impact that the Court’s [Canning] decision has on

 8 [NLRB] cases in which the January 2012 recess [member] appointees participated.”

 9            39.      On or about June 27, 2014, the NLRB issued an order in the NLRB Proceeding

10 setting aside the Panel Decision and the Reconsideration Denial, citing Canning.

11            40.      On or about August 11, 2014, the NLRB filed a motion to dismiss the First Appeal

12 because the Panel Decision and Reconsideration Denial had been set aside. Such motion was

13 granted by an order entered on or about August 11, 2014 and the First Appeal was dismissed.

14            41.      Even though the NLRB set aside the Panel Decision and Reconsideration Denial by

15 its order of June 27, 2014, the order also stated that the NLRB “will retain this case on its docket

16 and take further action as appropriate.” Such order was served upon the Debtor’s director of news

17 operations by certified and regular mail.

18            42.      Following Canning, another three-member panel of the NLRB ultimately affirmed

19 the Anderson Decision and agreed with the Reconsideration Denial, by a Decision and Order

20 entered on March 17, 2015. The Debtor again petitioned for review in the United States Court of

21 Appeals for the District of Columbia Circuit (the “Second Appeal”). On or about March 3, 2017,

22 the DC Circuit issued an opinion denying the Second Appeal.

23            43.      On or about September 14, 2023, the NLRB filed a proof of claim in the Debtor’s

24 bankruptcy case as an unsecured claim in the amount of $3,602,579.00. The supporting documents

25 to the claim include, among other documents, the Decision and Order of the three-member NLRB

26 panel in the NLRB Proceeding that was entered on or about March 17, 2015.
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 1 The Debtor’s Transfer of the Office Building and the Plant

 2            44.      When the NLRB declared that it would keep the NLRB Proceeding on its docket in

 3 the wake of Canning, the Debtor knew that were the NLRB to obtain a monetary judgment against

 4 the Debtor it might levy against the Office Building and any other property belonging to the Debtor

 5 to satisfy a resulting judgment.

 6            45.      On or about August 7, 2014, Articles of Organization for Anacapa LLC were filed

 7 with the California Secretary of State .

 8            46.      The Articles of Organization for Anacapa LLC describe the business or services of

 9 Anacapa LLC as “investments.”

10            47.      By a grant deed recorded in Santa Barbara County on or about September 26, 2014,

11 as Instrument No. 2014-0043994, the Debtor transferred the Office Building to Anacapa LLC (the

12 “Office Building Transfer”).

13            48.      McCaw signed the grant deed for the Office Building Transfer as the chief executive

14 officer of the sole member of the Debtor.

15            49.      The grant deed for the Office Building Transfer states that the transaction was

16 exempt from the documentary transfer tax “pursuant to [Revenue] & [Taxation] Code 11925(d),” a

17 statute that provides that “[n]o levy shall be imposed . . . by reason of any transfer . . . between

18 legal entities that results solely in a change in the method of holding title to the realty and in which

19 proportional ownership interests in the realty . . . represented by . . . membership interest . . . or

20 otherwise, directly or indirectly, remain the same immediately after the transfer.”

21            50.      Plaintiff is informed and believes, and based thereon alleges, that the Debtor

22 received no consideration in exchange for the Office Building Transfer.

23            51.      Also, on or about August 7, 2014, Articles of Organization for Kellogg LLC were

24 filed with the California Secretary of State.

25            52.      The Articles of Organization for Kellogg LLC describe the business or services of

26 Kellogg LLC as “investments.”
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 1            53.      By a grant deed recorded in Santa Barbara County on or about September 26, 2014,

 2 as Instrument No. 2014-0043995, the Debtor transferred the Plant to Kellogg LLC for no

 3 consideration (the “Plant Transfer”).

 4            54.      McCaw signed the grant deed for the Plant Transfer as the chief executive officer of

 5 the sole member of the Debtor.

 6            55.      The grant deed for the Plant Transfer states that the transaction was exempt from the

 7 documentary transfer tax “pursuant to [Revenue] & [Taxation] Code 11925(d),” a statute that

 8 provides that “[n]o levy shall be imposed . . . by reason of any transfer . . . between legal entities

 9 that results solely in a change in the method of holding title to the realty and in which proportional

10 ownership interests in the realty . . . represented by . . . membership interest . . . or otherwise,

11 directly or indirectly, remain the same immediately after the transfer.”

12            56.      Plaintiff is informed and believes, and based thereon alleges, that the Debtor

13 received no consideration in exchange for the Plant Transfer.

14

15 Tax Liabilities of the Debtor

16            57.      The basis for the proof of claim the NLRB filed in the Bankruptcy Case (the “NLRB

17 Claim”) is, without limitation, the make whole damages owed to members of the Union who were

18 the subject of the Anderson Decision. In that regard, the NLRB Claim identifies in Exhibit 7(f) the

19 following individuals, among others, who were members of the Union and the subject of the

20 Anderson Decision as noted, above: DeWalt, Harvey, Tonneson, Pacheco, Cheng, McMahon, and

21 Schultz.

22            58.      The declaration filed with the NLRB Claim states that the amounts are to be paid,

23 “minus tax withholdings on the backpay as required by Federal and State laws.”

24            59.      Given the content of the NLRB Claim, Plaintiff is informed and believes, and based

25 thereon alleges, that the Debtor is liable to the Internal Revenue Service (the “IRS”) for wage

26 withholding taxes for the backpay owed to the Union members who are the subject of the Anderson
27 Decision.

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 1            60.      The Debtor was liable to the IRS for wage withholding taxes as of the Office

 2 Building Transfer and the Plant Transfer in 2014, and such taxes remained unpaid as of the Petition

 3 Date.

 4            61.      Also, the claims register in the Bankruptcy Case includes proofs of claim that were

 5 assigned nos. 1 through 24, and 40. Such claims are priority wage claims of former employees of

 6 the Debtor, and the aggregate amount of such claims is $134,387.19. In addition to the taxes that

 7 the Debtor owed to the IRS as of the Office Building Transfer and the Plant Transfer, the Debtor is

 8 liable to the IRS for tax withholdings in connection with the filed priority wage claims.

 9            62.      Moreover, the IRS issued a notice dated August 28, 2023, regarding the tax period

10 that ended on December 31, 2022, stating that taxes were owed. The employer ID number on such

11 notice was XX-XXXXXXX, which is the same number set forth on the Debtor’s voluntary petition for

12 relief filed on the Petition Date.

13            63.      Plaintiff is informed and believes, and based thereon alleges, that the Office

14 Building Transfer and the Plant Transfer (collectively, the “Subject Transfers”) were voidable

15 under applicable law by the IRS before the Petition Date. Plaintiff is permitted by Section 544(b)

16 of the Bankruptcy Code to stand in the shoes of the IRS and to exercise what rights the IRS may

17 have to avoid and recover the Subject Transfers under applicable law.

18            64.      For the foregoing reasons, Plaintiff is informed and believes, and based thereon

19 alleges, that during all periods relevant to this action the Debtor owed money to the IRS, which was

20 and is a creditor of the bankruptcy estate because, among other reasons, it was determined that the

21 Debtor owed money to former employees due to the Debtor’s violation of labor law, and federal

22 and state taxes were owed in connection with such moneys.

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 1                          ALLEGATIONS RELEVANT TO ACTUAL INTENT

 2            65.      The signature on the grant deed for the Office Building Transfer came from McCaw

 3 in her capacity as the chief executive officer of Ampersand Holdings, LLC, which was described as

 4 being the sole member of the Debtor.

 5            66.      The Articles of Organization for Anacapa LLC describe it as a one manager limited

 6 liability company and state its address as 1301 Santa Barbara Street, Santa Barbara, California.

 7            67.      On or about February 27, 2017, a Statement of Information for Anacapa LLC was

 8 filed with the California Secretary of State that identified Ampersand Holdings, LLC, as the

 9 manager of Anacapa LLC.

10            68.       The signature on the grant deed for the Plant Transfer came from McCaw in her

11 capacity as the chief executive officer of Ampersand Holdings, LLC, which was described as being

12 the sole member of the Debtor.

13            69.      The Articles of Organization for Kellogg LLC describe it as a one manager limited

14 liability company and state its address as 1301 Santa Barbara Street, Santa Barbara, California.

15            70.      On or about February 27, 2017, a Statement of Information for Kellogg LLC was

16 filed with the California Secretary of State that identified Ampersand Holdings, LLC, as the

17 manager of Kellogg LLC.

18            71.      On or about July 24, 2000, the Debtor filed a Limited Liability Company

19 Application for Registration with the California Secretary of State that identified its address as

20 1301 Santa Barbara Street, Santa Barbara, California.

21            72.      Plaintiff is informed and believes, and based thereon alleges, that Anacapa LLC and

22 Kellogg LLC are “insiders” of the Debtor, as such term is defined in 11 U.S.C. § 101(31).

23            73.      After the Office Building Transfer and the Plant Transfer, the Debtor continued to

24 operate from the Office Building and the Plant, suggesting that the Subject Transfers were a sham.

25            74.      On the sole occasion when the Trustee was able to inspect the Plant, the Trustee

26 found a notice from the IRS dated August 28, 2023, directed to “Santa Barbara News-Press,” which
27 is the dba of the Debtor, at the address of the Plant.

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 1            75.      The Debtor’s voluntary petition for relief identifies its principal place of business as

 2 the Plant.

 3            76.      The attachments to proof of claim no. 33 include invoices of the Inland Empire

 4 Paper Company issued to the Debtor for the shipment of materials to the Plant.

 5            77.      The attachments to proof of claim no. 26 include property tax statements and lien

 6 certificates indicating that the Debtor was responsible for paying real property taxes owed to Santa

 7 Barbara County as to the Plant and Office Building.

 8            78.      The attachments to proof of claim no. 37 include invoices from the Cintas

 9 Corporation to the Debtor indicating that Cintas was shipping uniform shirts and work pants to the

10 Plant.

11            79.      The attachments to proof of claim no. 47 include invoices from the Band-It Rubber

12 Company, Inc. indicating that rubber bands sold to the Debtor were shipped to the Office Building.

13            80.      The Statement of Financial Affairs that the Debtor filed on or about August 3, 2023,

14 identified the Office Building in response to the requirement that the Debtor list all previous

15 addresses used by the Debtor within the three years before the Petition Date.

16            81.      Plaintiff is informed and believes, and based thereon alleges that after the Office

17 Building Transfer the Debtor rented space in the Office Building to third parties in exchange for the

18 payment of money.

19            82.      At the time of the Office Building Transfer and the Plant Transfer, the NLRB

20 Proceeding remained pending against the Debtor and adverse liability determinations had already

21 been made against the Debtor in the NLRB Proceeding even if they were temporarily vacated as a

22 result of Canning.

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 1                  THE TRUSTEE MAY AVOID TRANSFERS THAT ARE VOIDABLE

 2                       UNDER APPLICABLE LAW BY AN ACTUAL CREDITOR

 3            83.      Pursuant to Section 544(b) of the Bankruptcy Code, the Trustee may avoid any

 4 transfer of an interest of the debtor in property that is voidable under applicable law by a creditor

 5 holding an unsecured claim that is allowable under section 502 of the Bankruptcy Code or that is

 6 not allowable only under section 502(e) of the Bankruptcy Code.

 7            84.      Plaintiff is informed and believes, and based thereon alleges, that the IRS is a

 8 creditor holding an allowable unsecured claim within the meaning of Section 544(b).

 9            85.      The applicable law that the IRS may use when the IRS seeks to avoid a transfer

10 includes, without limitation, state statutes as to voidable transfers and fraudulent conveyances, Title

11 26 of the United States Code, and the Federal Debt Collection Procedures Act set forth in Title 28

12 of the United States Code.

13            86.      The IRS may obtain amounts owed by taxpayers by pursuing those to whom such

14 taxpayers have transferred such taxpayers’ property, i.e., the IRS may pursue transferees of

15 property from taxpayers who owe money to the IRS.

16            87.      In pursuing transferees of taxpayers who owe money to the IRS, the IRS may use,

17 without limitation, state statutes as to voidable transfers and fraudulent conveyances (“State

18 Avoidance Laws”).

19            88.      In pursuing transferees of taxpayers under State Avoidance Laws, the IRS is not

20 required to complete an assessment of taxes against such transferees pursuant to 26 U.S.C. § 6901.

21 Rather, the IRS may directly sue transferees of taxpayers without first having to make such an

22 assessment. The authority for the IRS to bring such an immediate action against a transferee is

23 granted by, among other sources of legal authority, 26 U.S.C. § 7402.

24            89.      When the IRS brings a direct suit against the transferee of a taxpayer under State

25 Avoidance Laws, the IRS is subject to the limitations period set forth in 26 U.S.C. § 6502, which is

26 ten years.
27            90.      When the IRS brings a direct suit against the transferee of a taxpayer under State

28 Avoidance Laws, the IRS is exercising the sovereign powers of the United States in the IRS’ role

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 1 as an agency of the United States and is therefore not subject to provisions in State Avoidance

 2 Laws that would otherwise extinguish the claims of creditors based upon the passage of time.

 3            91.      When a bankruptcy trustee “steps into the shoes” of the IRS in bringing an

 4 avoidance claim under section 544(b) of the Bankruptcy Code, the bankruptcy trustee – like the

 5 IRS – is immune from provisions of State Avoidance Laws that would otherwise extinguish the

 6 avoidance claims of creditors on timeliness grounds.

 7            92.      The authority of a bankruptcy trustee to bring avoidance claims that the IRS could

 8 have brought prior to the commencement of the bankruptcy case in which such bankruptcy trustee

 9 serves derives from section 544(b) and not from the status of the IRS as an agency of the United

10 States.

11            93.      The Debtor owed taxes to the IRS as of the Subject Transfers that the IRS could

12 have collected after the Subject Transfers by pursuing the transferees of the Subject Transfers, i.e.,

13 Anacapa LLC and Kellogg LLC, under State Avoidance Laws.

14            94.      The Debtor owed taxes to the IRS as of the Petition Date that, in the absence of the

15 Bankruptcy Case, the IRS could have collected by pursuing the transferees of the Subject

16 Transfers, i.e., Anacapa LLC and Kellogg LLC, under State Avoidance Laws.

17            95.      There exist in the Debtor’s case one or more creditors holding unsecured claims that

18 are allowable under section 502 of the Bankruptcy Code that are not allowable only under section

19 502(e) of the Bankruptcy Code, including without limitation the IRS.

20

21                                        FIRST CLAIM FOR RELIEF

22       (To Avoid and Recover Voidable Transfers, under 11 U.S.C. § 544(b), California Civil Code
                             § 3439.04(a)(1), 26 U.S.C. §§ 6502 and 7402 )
23
                                     (Against Anacapa LLC and Kellogg LLC)
24

25            96.      Plaintiff refers to and incorporates herein by reference each and every allegation

26 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.
27            97.      Each of the Subject Transfers transferred an interest of the Debtor in property.

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 1            98.      Plaintiff is informed and believes, and based thereon alleges, that the Debtor made

 2 each of the Subject Transfers with the actual intent to hinder, delay, or defraud one or more of its

 3 creditors.

 4            99.      Pursuant to 11 U.S.C. § 544(b) and other applicable law, Plaintiff is entitled to avoid

 5 the Subject Transfers.

 6            100.     Other applicable law that the Trustee may invoke to avoid the Subject Transfers

 7 includes, without limitation, the Uniform Voidable Transactions Act set forth at § 3439.01, et. seq.,

 8 of the Civil Code of California, and those provisions of Title 26 of the United States Code that

 9 enable the IRS to obtain payment of taxes owed by taxpayers from the transferees of those

10 taxpayers, including without limitation 26 U.S.C. §§ 7402 and 6502.

11            101.     Pursuant to § 550 of the Bankruptcy Code, Plaintiff may recover from Anacapa LLC

12 and Kellogg LLC the Office Building and the Plant, respectively, or the value thereof in sums

13 according to proof, plus interest thereon at the maximum legal rate from and after the date of the

14 Subject Transfers.

15

16                                      SECOND CLAIM FOR RELIEF

17       (To Avoid and Recover Voidable Transfer, under 11 U.S.C. § 544(b), California Civil Code
                               § 3439.05(a), 26 U.S.C. §§ 6502 and 7402 )
18
                                     (Against Anacapa LLC and Kellogg LLC)
19

20            102.     Plaintiff refers to and incorporates herein by reference each and every allegation

21 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

22            103.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor

23 received less than reasonably equivalent value in exchange for the Subject Transfers.

24            104.     Plaintiff is informed and believes, and based thereon alleges, that at the time the

25 Subject Transfers were made, the Debtor was either insolvent or became insolvent as a result of the

26 Subject Transfers.
27            105.     Pursuant to 11 U.S.C. § 544(b) and other applicable law, Plaintiff is entitled to avoid

28 the Subject Transfers.

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 1            106.     Other applicable law the Trustee may invoke to avoid the Subject Transfers

 2 includes, without limitation, the Uniform Voidable Transactions Act set forth at § 3439.01, et. seq.,

 3 of the Civil Code of California, and those provisions of Title 26 of the United States Code that

 4 enable the IRS to obtain payment of taxes owed by taxpayers from the transferees of those

 5 taxpayers, including without limitation 26 U.S.C. §§ 7402 and 6502.

 6            107.     Pursuant to § 550 of the Bankruptcy Code, Plaintiff may recover from Anacapa LLC

 7 and Kellogg LLC the Office Building and the Plant, respectively, or the value thereof in sums

 8 according to proof, plus interest thereon at the maximum legal rate from and after the date of the

 9 Subject Transfers.

10

11                                        THIRD CLAIM FOR RELIEF

12       (To Avoid and Recover Voidable Transfer, under 11 U.S.C. § 544(b), California Civil Code
                            § 3439.04(a)(2)(a), 26 U.S.C. §§ 6502 and 7402)
13
                                     (Against Anacapa LLC and Kellogg LLC)
14

15            108.     Plaintiff refers to and incorporates herein by reference each and every allegation

16 contained in Paragraphs 1 through 95, inclusive, and paragraph 102, as though fully set forth

17 herein.

18            109.     Plaintiff is informed and believes, and based thereon alleges, that at the time of the

19 Subject Transfers, the Debtor was engaged, or was about to engage, in business or a transaction or

20 transactions for which its remaining assets were an unreasonably small capital because the Debtor

21 was operating a daily newspaper that required the employment of staff to investigate stories, write

22 and edit content, and produce and distribute the publication.

23            110.     Pursuant to 11 U.S.C. § 544(b) and other applicable law, Plaintiff is entitled to avoid

24 the Subject Transfers.

25            111.     Other applicable law the Trustee may invoke to avoid the Subject Transfers

26 includes, without limitation, the Uniform Voidable Transactions Act set forth at § 3439.01, et. seq.,
27 of the Civil Code of California, and those provisions of Title 26 of the United States Code that

28

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 1 enable the IRS to obtain payment of taxes owed by taxpayers from the transferees of those

 2 taxpayers, including without limitation 26 U.S.C. §§ 7402 and 6502.

 3            112.     Pursuant to § 550 of the Bankruptcy Code, Plaintiff may recover from Anacapa LLC

 4 and Kellogg LLC the Office Building and the Plant, respectively, or the value thereof in sums

 5 according to proof, plus interest thereon at the maximum legal rate from and after the date of the

 6 Subject Transfers.

 7

 8                                      FOURTH CLAIM FOR RELIEF

 9       (To Avoid and Recover Voidable Transfers, under 11 U.S.C. § 544(b), California Civil Code
                            § 3439.04(a)(2)(b), 26 U.S.C. §§ 6502 and 7402 )
10
                                     (Against Anacapa LLC and Kellogg LLC)
11

12            113.     Plaintiff refers to and incorporates herein by reference each and every allegation

13 contained in Paragraphs 1 through 95, inclusive, and paragraph 102, as though fully set forth

14 herein.

15            114.     Plaintiff is informed and believes, and based thereon alleges, that when it made the

16 Subject Transfers, the Debtor intended to incur, or believed or reasonably should have believed,

17 that it would incur debts that would be beyond its ability to pay as such debts matured because the

18 Debtor was operating a daily newspaper that required the employment of staff to investigate

19 stories, write and edit content, and produce and distribute the publication.

20            115.     Pursuant to 11 U.S.C. § 544(b) and other applicable law, Plaintiff is entitled to avoid

21 the Subject Transfers.

22            116.     Other applicable law the Trustee may invoke to avoid the Subject Transfers

23 includes, without limitation, the Uniform Voidable Transactions Act set forth at § 3439.01, et. seq.,

24 of the Civil Code of California, and those provisions of Title 26 of the United States Code that

25 enable the IRS to obtain payment of taxes owed by taxpayers from the transferees of those

26 taxpayers, including without limitation 26 U.S.C. §§ 7402 and 6502.
27            117.     Pursuant to § 550 of the Bankruptcy Code, Plaintiff may recover from Anacapa LLC

28 and Kellogg LLC the Office Building and the Plant, respectively, or the value thereof in sums

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 1 according to proof, plus interest thereon at the maximum legal rate from and after the date of the

 2 Subject Transfers.

 3

 4                                        FIFTH CLAIM FOR RELIEF

 5                                            (For Declaratory Relief)

 6                                   (Against Anacapa LLC and Kellogg LLC)

 7            118.     Plaintiff refers to and incorporates herein by reference each and every allegation

 8 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

 9            119.     An actual controversy exists as between Plaintiff, on the one hand, and Anacapa

10 LLC and Kellogg LLC, on the other hand, in that the Trustee contends that the Debtor owns the

11 equitable interest in the Office Building and the Plant, and Anacapa LLC and Kellogg LLC dispute

12 that contention.

13            120.     Plaintiff is entitled to a determination by this Court that the bankruptcy estate owns

14 the fee interest in the Office Building and the Plant, respectively.

15

16                                        SIXTH CLAIM FOR RELIEF

17                                                 (For Turnover)

18                                   (Against Anacapa LLC and Kellogg LLC)

19            121.     Plaintiff refers to and incorporates herein by reference each and every allegation

20 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

21            122.     The Office Building and the Plant are assets that the Trustee can use, sell or lease.

22 The Court should order turnover of the Office Building and the Plant to the Trustee.

23            123.     The Trustee is entitled to a judgment ordering Anacapa LLC and Kellogg LLC to

24 turn over possession of the Office Building and the Plant to the Trustee.

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 1                                      SEVENTH CLAIM FOR RELIEF

 2                                              (For Resulting Trust)

 3                                   (Against Anacapa LLC and Kellogg LLC)

 4            124.     Plaintiff refers to and incorporates herein by reference each and every allegation

 5 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

 6            125.     By the Subject Transfers, Anacapa LLC and Kellogg LLC acquired title to the

 7 Office Building and the Plant, respectively.

 8            126.     After the Office Building Transfer, the Debtor continued to operate from the Office

 9 Building.

10            127.     Plaintiff is informed and believes, and based thereon alleges that after the Office

11 Building Transfer there was no lease between the Debtor and any other entity regarding the

12 Debtor’s presence at the Office Building.

13            128.     Plaintiff is informed and believes, and based thereon alleges that after the Office

14 Building Transfer the Debtor was not required to pay rent for the Office Building, and never paid

15 any rent.

16            129.     After the Plant Transfer, the Debtor continued to operate from the Plant.

17            130.     Plaintiff is informed and believes, and based thereon alleges that after the Plant

18 Transfer there was no lease between the Debtor and any other entity regarding the Debtor’s

19 presence at the Plant.

20            131.     Plaintiff is informed and believes, and based thereon alleges that after the Plant

21 Transfer the Debtor was not required to pay rent for the Plant.

22            132.     After the Subject Transfers, the Debtor continued to own the beneficial interest in

23 the Office Building and the Plant.

24            133.     By the Subject Transfers, the Debtor intended that Anacapa LLC and Kellogg LLC

25 hold the Office Building and the Plant, respectively, in trust for the benefit of the Debtor.

26            134.     The beneficial interests in the Office Building and the Plant constitute property of
27 the bankruptcy estate.

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 1            135.     Anacapa LLC and Kellogg LLC are obligated to hold the Office Building and the

 2 Plant for the benefit of the Debtor and now the bankruptcy estate.

 3            136.     The Trustee is entitled to a decree from the Bankruptcy Court imposing a resulting

 4 trust over the Office Building and the Plant.

 5

 6                                       EIGHTH CLAIM FOR RELIEF

 7                                             (For Injunctive Relief)

 8                                     (Against Anacapa LLC, Kellogg LLC)

 9            137.     Plaintiff refers to and incorporates herein by reference each and every allegation

10 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

11            138.     The assets of the Debtor are located at the Office Building and the Plant.

12            139.     Anacapa LLC and Kellogg LLC, presumably at the direction of McCaw, can and do

13 determine who can have access to the premises at the Office Building and the Plant.

14            140.     Plaintiff is informed and believes, and based thereon alleges that certain of the assets

15 of the Debtor that are located at the Office Building and/or the Plant are books and records, printing

16 presses, equipment, and fixtures.

17            141.     Anacapa LLC and Kellogg LLC have failed to provide the Trustee access to the

18 Office Building and the Plant, as applicable.

19            142.     The failure of Anacapa LLC and Kellogg LLC to provide the Trustee access to the

20 Office Building and the Plant, as applicable, has prevented the Trustee from meeting his duties

21 under the Bankruptcy Code to investigate what the assets of the bankruptcy estate may be and to

22 reduce them to money, among other duties.

23            143.     Anacapa LLC and Kellogg LLC in failing to provide the Trustee access to the

24 Office Building and the Plant, as applicable, are exercising control over the property of the

25 bankruptcy estate.

26            144.     Plaintiff is informed and believes, and based thereon alleges that the Office Building
27 and the Plant are in a condition that does not protect the property of the bankruptcy estate from the

28 elements.

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 1            145.     Plaintiff is informed and believes, and based thereon alleges that Anacapa LLC and

 2 Kellogg LLC have failed to maintain the supply of electricity and/or other utilities to the Office

 3 Building and the Plant, as applicable, even though their expressed intent is to remodel the interiors

 4 of one or more of the Office Building and/or the Plant.

 5            146.     Plaintiff is informed and believes, and based thereon alleges that Anacapa LLC and

 6 Kellogg LLC continue their wrongful conduct of exercising control over and denying the Trustee

 7 access to property of the bankruptcy estate so that the Trustee has no adequate remedy at law

 8 against them for such conduct.

 9            147.     Plaintiff is informed and believes and, based thereon, alleges that the ongoing

10 wrongful conduct of Anacapa LLC and Kellogg LLC is causing irreparable harm to Plaintiff by

11 creating the risk that the value of the property of the bankruptcy estate, over which they are

12 exercising control, may be lost or diminished.

13            148.     The risk of hardship to Anacapa LLC and Kellogg LLC by enjoining their ongoing

14 wrongful conduct is much less than the risk of hardship to the Trustee and to the bankruptcy estate

15 by the absence of such injunctive relief.

16            149.     Plaintiff is entitled to injunctive relief, on a preliminary and permanent basis,

17 prohibiting Anacapa LLC and Kellogg LLC from engaging in their ongoing misconduct by, among

18 other things, withholding keys to the Office Building and Plant, as well as directing the Defendants

19 to immediately deliver to the Trustee all keys and information (like security passcodes) needed for

20 the Trustee to access the Office Building and the Plant and all locked interior areas of the Office

21 Building and the Plant, and to immediately restore electricity to the Office Building and the Plant,

22 and preventing Anacapa LLC and Kellogg LLC from changing the locks and security passcodes

23 pending further Court order.

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 1                                       NINTH CLAIM FOR RELIEF

 2                                                 (For Turnover)

 3                                   (Against Anacapa LLC and Kellogg LLC)

 4            150.     Plaintiff refers to and incorporates herein by reference each and every allegation

 5 contained in Paragraphs 1 through 95, inclusive, as though fully set forth herein.

 6            151.     The Office Building and the Plant contain assets that constitute property of the

 7 bankruptcy estate that the Trustee can use, sell or lease, including without limitation books and

 8 records, printing presses, equipment, and fixtures. The Court should order turnover of the property

 9 of the bankruptcy estate that is located inside of the Office Building and the Plant to the Trustee.

10

11                                       TENTH CLAIM FOR RELIEF

12                                        (To Impose Constructive Trust)

13                                   (Against Anacapa LLC and Kellogg LLC)

14            152.     Plaintiff refers to and incorporates herein by reference each and every allegation

15 contained in Paragraphs 1 through 151, inclusive, as though fully set forth herein.

16            153.     The California Civil Code in section 2224 provides that “[o]ne who gains a thing by

17 fraud, accident, mistake, undue influence, the violation of a trust, or other wrongful act, is, unless

18 he or she has some other and better right thereto, an involuntary trustee of the thing gained, for the

19 benefit of the person who would otherwise have had it.”

20            154.     At the time of the Subject Transfers, the Debtor was liable on claims of the NLRB

21 in the NLRB Proceeding.

22            155.     Plaintiff is informed and believes, and based thereon alleges that at the time of the

23 Subject Transfers the Debtor was liable on claims of the IRS.

24            156.     The purpose of the Subject Transfers was to change the form in which title to the

25 Office Building and the Plant was held such that it would appear that the Debtor had fewer assets

26 than it actually had.
27

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 1            157.     After the Subject Transfers, the Debtor continued to operate from the Office

 2 Building and the Plant as if the Subject Transfers had not occurred, revealing that the Subject

 3 Transfers were intended solely to change how the Debtor appeared “on paper.”

 4            158.     Also, the Subject Transfers were completed in violation of fiduciary duties that

 5 were owed to the Debtor by persons and entities who controlled the Debtor.

 6            159.     Plaintiff is informed and believes, and based thereon alleges that the Debtor was

 7 damaged by the Subject Transfers because the Debtor was deprived of ownership of the Office

 8 Building and the Plant even though it continued to be responsible for expenses associated with

 9 actual ownership of the Office Building and the Plant.

10            160.     Anacapa LLC and Kellogg LLC now hold title to the Office Building and the Plant,

11 respectively, as a result of changes to the manner in which title to the Office Building and the Plant

12 was held that were improper, and breaches of fiduciary duties owed to the Debtor.

13            161.     Anacapa LLC and Kellogg LLC hold the Office Building and the Plant,

14 respectively, in trust for the benefit of Plaintiff and the Court should declare that a constructive

15 trust exists such that Plaintiff is the equitable owner of the Office Building and the Plant.

16

17            WHEREFORE, Plaintiff prays for judgment against Anacapa LLC and Kellogg LLC as

18 follows:

19

20            ON THE FIRST THROUGH FOURTH CLAIMS FOR RELIEF:

21            1.       For judgment in favor of Plaintiff and against Anacapa LLC avoiding the Office

22 Building Transfer;

23            2.       For judgment in favor of Plaintiff and against Kellogg LLC avoiding the Plant

24 Transfer;

25            3.       Awarding the Office Building or the value thereof according to proof in favor of

26 Plaintiff and against Anacapa LLC;
27            4.       Awarding the Plant or the value thereof according to proof in favor of Plaintiff and

28 against Kellogg LLC; and

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 1            5.       For an award of interest at the legal rate on all sums awarded to Plaintiff from the

 2 date of the Subject Transfers.

 3

 4            ON THE FIFTH CLAIM FOR RELIEF:

 5            6.       For a declaration by the Court that the bankruptcy estate owns the fee interest in the

 6 Office Building; and

 7            7.       For a declaration by the Court that the bankruptcy estate owns the fee interest in the

 8 Plant.

 9

10            ON THE SIXTH CLAIM FOR RELIEF:

11            8.       For a judgment ordering that the Trustee is entitled to possession of the Office

12 Building and the Plant.

13

14            ON THE SEVENTH CLAIM FOR RELIEF:

15            9.       For judgment declaring that Anacapa LLC and Kellogg LLC hold title to the Office

16 Building and the Plant, respectively, as the trustees of a resulting trust for the benefit of the

17 bankruptcy estate.

18            10.      For an order compelling Anacapa LLC and Kellogg LLC to convey the Office

19 Building and the Plant, respectively, to the Trustee.

20

21            ON THE EIGHTH CLAIM FOR RELIEF:

22            11.      Injunctive relief as against Anacapa LLC and Kellogg LLC to provide immediate

23 access to the Office Building and the Plant so that the Trustee can carry out his duties under the

24 Bankruptcy Code; and

25            12.      Injunctive relief as against Anacapa LLC and Kellogg LLC to restore utility services

26 to the Office Building and the Plant to mitigate, and prevent, future damage to the bankruptcy
27 estate.

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 1            ON THE NINTH CLAIM FOR RELIEF:

 2            13.      For a judgment ordering that the Trustee is entitled to possession of the property of

 3 the bankruptcy estate that is located inside of the Office Building and the Plant.

 4

 5            ON THE TENTH CLAIM FOR RELIEF

 6            14.      For judgment declaring that Anacapa LLC and Kellogg LLC hold title to the Office

 7 Building and the Plant, respectively, as trustees of a constructive trust(s) for the benefit of the

 8 bankruptcy estate.

 9            15.      For an order compelling Anacapa LLC and Kellogg LLC to convey to Plaintiff the

10 Office Building and the Plant, respectively.

11

12            ON ALL CLAIMS FOR RELIEF:

13            16.      For costs of suit incurred; and

14            17.      For such other relief as the Court deems just and proper.

15

16 DATED: December 26, 2023                        DANNING, GILL, ISRAEL & KRASNOFF, LLP

17

18
                                                   By:
19                                                       MICHAEL G. D’ALBA
                                                         Attorneys for Plaintiff Jerry Namba,
20                                                       Chapter 7 Trustee
21

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                                                                                   715 ANACAPA, LLC, a California
 JERRY NAMBA, Chapter 7 Trustee                                limited liability company; 725 KELLOGG, LLC, a
                                                               California limited liability company


 Danning, Gill, Israel & Krasnoff, LLP
 1901 Avenue of the Stars, Suite 450
 Los Angeles, CA 90067                     310-277-0077


                                                                               x
 x

To Avoid and Recover Voidable Transfers, under 11 U.S.C. § 544(b), California Civil Code § 3439.04(a)(2)(b), 26
U.S.C. §§ 6502 and 7402)




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(1) to avoid and recover voidable transfer under 11 U.S.C. § 544(b) and other applicable law
(4) for imposition of resulting trust

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CENTRAL DISTRICT OF CALIFORNIA                NORTHERN              RONALD A. CLIFFORD III




December 26, 2023                             MICHAEL G. D’ALBA




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